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                        IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF ARKANSAS
                                          WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                            NO.   4:00CR00239-002 SWW

CLIFTON ZAYRELL FREEMAN, JR.


                                               ORDER

      The above entitled cause came on for a hearing on petition to revoke the

supervised released granted this defendant in the U. S. District Court for the

Eastern District of Arkansas.             Upon the basis of the preponderance of evidence,

the Court found that defendant has violated the conditions of his supervised

release without just cause.

      IT IS THEREFORE ORDERED that the government’s motion is granted,1 and the

supervised release previously granted this defendant, be, and it hereby is,

revoked.

      IT IS FURTHER ORDERED that defendant is committed to the custody of the

Bureau of Prisons to serve a term of imprisonment of THIRTY (30) MONTHS.                 The

Court recommends that defendant participate in a residential substance abuse

treatment program during incarceration.

      There     will     be    no     supervised   release   following   defendant’s term of

imprisonment.

      The defendant is returned to the custody of the U. S. Marshal.

      IT IS SO ORDERED this 1st day of June, 2007.



                                                       /s/Susan Webber Wright

                                                       UNITED STATES DISTRICT JUDGE




      1
       Docs. #221, #225 and #226.
